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LNMIJ\VS. USAO#2019R00510
                                       2019 i,Uu 29 ?:; 4: 24
                       IN THE UNITED1STATEs..PI~~;RICT COURT
                           FOR THE DIS~P!1Pl,M"~RYLAND

 UNITED STATES OF AMERICA By __                 V
                                                __,OEPUTY
                                                *
        v.                                      *     CRIMINAL          NO.   ~D8-/q-oc.( I I?
                                                *
 MARQUIS MOORE,                                 *     (Conspiracy to Interfere with Commerce
 MILEK RANKIN, and                              *     hy Rohhery, 18 U.S.c. ~ 1951(a);
 DONTRELL GLOVER,                               *     Conspiracy to Usc, Carry, and Brandish a
                                                *     Firearm During and in Relation to Crimes
     Defendants.                                *     of Violence, 18 U.S.c. ~ 924(0);
                                                *     Interference with Commerce by Robbery,
                                                *     18 U.S.c. ~ 1951(a); Using, Ca •.•.ying, ,md
                                                *     Brandishing a Firearm During and in
                                                *     Relation to a Crime of Violence, 18 U.S.c.
                                                *     ~ 924(c); Aiding and Abetting, 18 U.S.c.
                                                *     ~ 2; Forfeiture, 18 U.S.c. ~ 924(d) and 28
                                                *     U.S.c. ~ 2461(c))
                                                *
                                                *
                                         INDICTMENT

                                           COUNT ONE
                    (Conspiracy   to Interfere with Commerce by Robbery)

       Thc Grand Jury for the District of Maryland charges that:

       From a timc unknown to thc Grand Jury, but no latcr than in or about Octobcr 2018, and

continuing through March I. 2019, in the District of Maryland, the defcndants,

                                      MARQUIS MOORE,
                                     MILEK RANKIN, and
                                     DONTRELL GLOVER

did knowingly combine, conspirc, confederate, and agree with persons, knO\\11and unknown to

the Grand Jury, to knowingly and intcntionally obstruct, delay and affect, and attempt to obstruct,

delay and affect, commerce as that tcn" is defined in 18 U.S.c. 91951. and thc movemcnt of
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articles and commodities in such commerce, by robbery as that terlll is defined in 18 U.S.c.    S   1951,

in that the defendants conspired to unlawfully take U.S. currency and other items from the person

or presence of victims, against the victims' will by means of actual and threatened force, violence,

fear of injury, immediate and future. to their persons and property.

                                   OB.JECT OF THE CONSPIRACY

           I.       The object of the charged defendants was to obtain money and other commodities

from fast-food restaurants, video game stores, cell-phone stores. shoe stores, and dollar stores by

robbery.

                          MANNER AND MEANS OF THE CONSPIRACY

       2.           It was part of the conspiracy that MOORE, RANKIN, and GLOVER planned to

and did rob businesses in Maryland, including in Baltimore City, Baltimore County, and Anne

Arundel County. Maryland.

       3.           It was further part of the conspiracy that MOORE and RANKIN would enter the

stores wearing masks over their faces and MOORE would brandish a tireartn.

       4.           It was further part of the conspiracy that MOORE and RA:'-JKIN would demand

cash and other commodities from store employees while MOORE would brandish the firearm.

       5.           It was further part of the conspiracy that GLOVER would drive MOORE and

RANKIN away from the robberies in a black Toyota Camry registered to GLOVER.

       6.           It was further part of the conspiracy that MOORE, RANKIN, and GLOVER would

enrich themselves and share the proceeds from the robberies.

                                              OVERT ACTS

       7.           In furtherance of the conspiracy, and to efrect the objects thereot~ the defendants

participated in and committed the tollowing acts. among others, in the District of Maryland:



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   a. On or about November 20, 2018, MOORE and RANKIN entered the Shoe City

store located at 3418 Annapolis Road, Baltimore, Maryland 21227 ("Shoe City"),

brandished a firearm, and removed shoes and U.S. currency from Shoe City in the presence

of employees of the business;

    b. On or about January 4, 2019, MOORE and RANKIN entered the Boost Mobile

store located at 1223 Eastern Boulevard, Essex 21221 ("Boost Mobile"), brandished a

firearm, struck a Boost Mobile employee with the firearm, and removed U.S. currency

from Boost Mobile in the presence of an employee of the business;

   c. On or about January 11,2019, MOORE and RANKIN entered the Metro PCS store

located at 7553 Ritchie Highway, Glen Burnie, Maryland 21061 ("Metro PCS I"),

brandished a firearm, and removed U.S. currency from Metro PCS I in the presence of

employees of the business;

    d. On or about Januarv 11,2019, GLOVER arrived at or near Metro PCS 1 in a vehicle

and MOORE and RANKIN entered the vehicle immediately after the robbery and the three

!led the scene:

    e. On or about January 11. 2019, MOORE and RANKIN entered the Family Dollar

store located at 4301 Annapolis Road, Halethorpe, Maryland 21227 ("Family Dollar"),

brandished a firearm, and removed U.S. currency from Family Dollar in the presence of

employees of the business;

    I:   On or about January II. 2019, GLOVER was at or near Family Dollar in a vehicle

and MOORE and RANKIN entered the vehicle immediately after the robbery and the three

!led the scene;

   g. On or about January 27,2019,      MOORE and RANKIN entered the McDonald's



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restaurant located at 3920 Falls Road, Baltimore, Maryland 21211 ("McDonald's        I"),

brandished a firearm, and removed U.S. currency from McDonald's      I in the presence of

employees of the business;

    h. On or about January 27, 2019, GLOVER was at or near McDonald's I in a vehicle

and MOORE and RANKIN entered the vehicle immediately after the robbery and the three

fled the scene.

    I.   On or about February 4,2019, MOORE and RANKI,       entered the GameStop store

located at 7300 Ritchey Highway, Unit 102, Glen Burnie, Maryland 21061 ("GameStop"),

brandished a tirearnl, and removed U.S. currency and two Nintendo Switches from

GameStop in the presence of employees of the business;

   .I. On or about February 4,2019, GLOVER was at or near GameStop in a vehicle and

MOORE and RANKIN entered the vehicle immediately after the robbery and the three fled

the scene;

    k. On or about February II, 2019, MOORE and RANKIN entered the Metro PCS

store located at 8209 Liberty Road, Windsor Mill, Maryland 21244 ("Metro PCS T),

brandished a firearm, and removed U.S. currency trom Metro PCS 2 in the presence of

employees of the business;

    I.   On or about February 11, 2019. GLOVER arrived at or near Metro PCS 2 in a

vehicle and MOORE and RANKIN entered the vehicle immediately after the robbery and

the three fled the scene;

    m. On or about r:ebruary II, 2019, MOORE and RANKIN entered the Cricket

Wireless store located at 8229 Liberty Road, Windsor Mill, Maryland 21244 ("Cricket

Wireless"), brandished a firearm, and removed U.S. currency trom Cricket Wireless in the



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presence of employees of the business;

    n. On or about February 11,2019, GLOVER arrived at or near Cricket Wireless in a

vehicle and MOORE and RANKIN entered the vehicle immediately after the robbery and

the three !led the scene;

    o. On or about February 26, 2019, MOORE and RANKIN entered the McDonald's

restaurant located at 2107 East Joppa Road, Parkville, Maryland 21234 ("McDonald's 2"),

brandished a firearm, and removed U.S. currency from McDonald's 2 in the presence of

employees of the business;

    p. On or about February 26,2019, GLOVER was at or near McDonald's 2 in a vehicle

and MOORE and RANKIN entered the vehicle immediately after the robbery and the three

!led the scene;

   q. On or about March I, 2019, MOORE and RANKIN entered the McDonald's

restaurant located at 6005 Liberty Road, Baltimore, Maryland 21207 ("McDonald's    3"),

brandished a firearm, and removed U.S. currency from McDonald's 3 in the presence of

employees of the business;

    r.   On or about March 1,2019, GLOVER was at or near McDonald's 3 in a vehicle

and MOORE and RANKIN entered the vehicle immediately after the robbery and the three

!led the scene;

   s.    During the course of the conspiracy, MOORE and RANKIN entered numerous

other commercial businesses in Anne Arundel County, Baltimore County, and Baltimore

City, Maryland, brandished a firearm, and removed U.S. currency and other items,

affecting interstate commerce.   During some of these robberies, GLOVER was at or near

the commercial businesses in a vehicle and drove MOORE and RANKIN from the



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       locations after the robberies.




18 U.S.c. ~ 1951(a)
18 U.S.c. ~ 2




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                                         COUNT TWO
                       (Conspiracy to Use, Carry, and Brandish a Firearm
                          During and in Relation to Crimes of Violence)

       The Grand Jury for the District of Maryland further charges that:

       From a time unknown to the Grand Jury, but no later than in or about November 2018, and

continuing through March 1,2019, in the District of Maryland and elsewhere, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly and unlawfully combine, conspire, confederate and agree with each other and other

persons, known and unknown to the Grand Jury, to knowingly use, carry, and brandish a fireann

during and in relation to a crime of violence for which they may be prosecuted in a court of the

United States, that is, Interference with Commerce by Robbery, as set forth in Counts 3, 5, 7, 9,

II, 13, IS, 19, and 21 of this Indictment, which are incorporated herein by reference.




18 U.S.C.   9 924(0)




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                                          COUNT THREE
                          (Interference    with Commerce by Robbery)

       The Grand Jury for the District of Maryland further charges that:

        1.      At all times material to this Indictment, the Shoe City store located at 3418

Annapolis Road, Baltimore. Maryland 21227 ("Shoe City") was engaged in the retail sale of shoes

and other consumer products in interstate commerce and the business of the Shoe City affected

interstate commerce.

       2.       On or about November 20. 2018, in the District of Maryland, the defendants.

                                    MARQUIS MOORE and
                                      MILEK RANKIN

did knowingly, obstruct, delay and affect. and attempt to obstruct. delay and affect, commerce as

that tern1 is defined in Title 18, United States Code. Section 1951. and the movement of articles

and commodities in commerce, by robbery. as that tenn is defined in Title 18, United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to Shoe City from the person of and in the presence of an employee of Shoe City, against the

employee's will by means of actual and threatened force, violence, and fear of injury, immediate

and future, to the employee's person and property in the employee's custody and possession.




18 U.S.C. ~ 1951(a)
18 U.S.c. ~ 2




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                                       COUNT FOUR
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about November 20, 2018, in the District of Maryland, the defendants,

                                    MARQUIS MOORE and
                                      MILEK RANKIN

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Three

of this Indictment.




18 U.S.C.   S 924(c)
18 U.S.C.   S2




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                                           COUNT FIVE
                            (Interference with Commerce by Robbery)

       The Grand Jury for the District of Maryland further charges that:

        I.       At all times material to this Indictment, the Boost Mobile store located at 1223

Eastern Boulevard, Essex, Maryland 21221 ("Boost Mobile") was engaged in the retail sale of cell

phones and other consumer products in interstate commerce and the business of Boost Mobile

affected interstate commerce.

       2.        On or about January 4. 2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct, delay and affect. and attempt to obstruct, delay and affect, commerce as

that ternl is defined in Title 18. United States Code, Section 1951, and the movement of articles

and commodities in commerce. by robbery, as that term is defined in Title 18, United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to Boost Mobile from the person of and in the presence of an employee of Boost Mobile, against

the employee's     will by means of actual and threatened force, violence, and fear of injury.

immediate and future. to the employee's      person and property in the employee's      custody and

possessIOn.



18 U.S.c.    S 1951(a)
18 U.S.c.    S2




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                                         COUNT SIX
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about January 4, 2019, in the District of Maryland, the defendants,

                                      MARQUIS MOORE,
                                     MILEK RANKIN, and
                                     DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Five of

this Indictment.




18 U.S.C.   S 924(c)
18 U.S.c.   S2




                                                II
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                                          COUNT SEVEN
                            (Interference with Commerce by Robbery)

        The Grand Jury for the District of Maryland further charges that:

        I.       At all times material to this Indictment, the Metro PCS store located at 7553 Ritchie

Highway, Glen Burnie. Maryland 21061 ("Metro PCS ]"') was engaged in the retail sale of cell

phones and other consumer products in interstate commerce and the business of Metro PCS

affected interstate commerce.

        2.       On or about January 11,2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct. delay and affect. and attempt to obstruct, delay and affect, commerce as

that term is defined in Title 18. United States Code. Section 1951. and the movement of articles

and commodities in commerce, by robbery, as that term is defined in Title 18. United States Code,

Section 1951. in that the defendants did unlawfully take and obtain money and property belonging

to Metro PCS I from the person of and in the presence of an employee of Metro PCS I, against

the employee's    will by means of actual and threatened force, violence, and fear of injury.

immediate and future. to the employee's       person and property in the employee's      custody and

possession.



18 U.S.C. 9 1951(a)
18 U.S.c. 92




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                                      COUNT EIGHT
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about January 11, 2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Seven

of this Indictment.




18 U.S.C.   S 924(c)
18 U.S.c.   S2




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                                          COUNT NINE
                            (Interference with Commerce by Robbery)

       The Grand Jury for the District of Maryland further charges that:

       1.        At all times material to this Indictment, the Family Dollar store located at 4301

Annapolis Road, Halethorpe, Maryland 21227 ("Family Dollar") was engaged in the retail sale of

consumer products in interstate commerce and the business of Family Dollar affected interstate

commerce.

       2.        On or about January II, 2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct. delay and affect. and attempt to obstruct, delay and affect. commerce as

that term is defined in Title 18. United States Code. Section 1951. and the movement of articles

and commodities in commerce, by robbery. as that tenn is defined in Title 18. United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to Family Dollar from the person of and in the presence of an employee of Family Dollar, against

the employee's    will by means of actual and threatened force, violence, and fear of injury,

immediate and future, to the employee's      person and property in the employee's     custody and

possessIOn.



18 U.S.c. ~ 1951(a)
18 U.S.c. ~ 2




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                                         COUNT TEN
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about January 11,2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Nine

of this Indictment.




18 U.S.c.   S 924(c)
18 U.S.C.   S2




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                                            COUNT ELEVEN
                            (Interference    with Commerce by Robbery)

       The Grand Jury for the District of Maryland further charges that:

        I.       At all times material to this Indictment, the McDonald's restaurant located at 3920

Falls Road, Baltimore, Maryland 21211 ('"McDonald's I") was engaged in the sale of foods and

other consumer products in interstate commerce and the business of McDonald's             1 affected

interstate commerce.

       2.        On or about January 27, 2019, in the District of Maryland, the defendants,

                                        MARQUIS MOORE,
                                       MILEK RANKIN, and
                                       DONTRELL GLOVER

did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and affect, commerce as

that term is deli ned in Title 18, United States Code, Section 1951, and the movement of articles

and commodities in commerce, by robbery, as that term is defined in Title 18, United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to McDonald's 1 from the person of and in the presence of an employee ofMcDonald's        I, against

the employee's     will by means of actual and threatened f()[ce, violence, and fear of injury.

immediate and future. to the employee's        person and property in the employee's   custody and

possessIOn.



18 U.S.C.    S 1951(a)
18 U.S.C.    S2




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                                      COUNT TWELVE
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about January 27, 2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Eleven

of this Indictment.




18 U.S.c.    S 924(c)
18 U.S.c.    S2




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                                        COUNT THIRTEEN
                            (Interference with Commerce hy Robbery)

       The Grand Jury for the District of Maryland further charges that:

        I.       At all times material to this Indictment, the GameStop store located at 7300 Ritchey

Highway, Unit 102, Glen Bumie, Maryland 21061 ("GameS top") was engaged in the retail sale of

video games and other consumer products in interstatc commerce and the business of GameStop

affected interstate commerce.

       2.        On or about February 4, 2019, in the District of Maryland, the defcndants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and afTect, commerce as

that term is defined in Title 18, Unitcd States Code, Section 1951, and the movement of articles

and commodities in commerce, by robbery, as that teml is defined in Title 18, United States Code,

Section 195 I, in that the defendants did unlawfully take and obtain moncy and property belonging

to GameStop from the person of and in the presence of an cmployee of GameStop, against the

employcc's will by means of actual and thrcatened force, violence, and fear of injury, immediatc

and future, to the employce's person and property in the employee's custody and possession.




18 U.S.c.    S 1951(a)
18 U.S.c.    S2




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                                    COUNT FOURTEEN
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about February 4, 2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Thirteen

of this Indictment.




18 U.S.c.   S 924(c)
18 U.S.c.   S2




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                                         COUNT FIFTEEN
                            (Interference with Commerce by Robbery)

        The Grand Jury for the District of Maryland further charges that:

        I.       At all times material to this Indictment, the Metro PCS store located at 8209 Liberty

Road, Windsor Mill, Maryland 21244 ("Metro PCS 2") was engaged in the retail sale of cell

phones and other consumer products in interstate conmlerce and the business of Metro PCS 2

affected interstate commerce.

        2.       On or about February 11,2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and alIect, commerce as

that tenn is defined in Title 18, United States Code, Section 1951, and the movement of articles

and commodities in commerce. by robbery, as that term is defined in Title 18, United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to Metro PCS 2 from the person of and in the presence of an employee of Metro PCS 2, against

the employee's    will by means of actual and threatened force, violence, and fear of injury,

immediate and future, to the employee's       person and property in the employee's      custody and

possession.




18 U.S.c. ~ 1951(a)
18 U.S.c. ~ 2




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                                     COUNT SIXTEEN
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

        The Grand Jury for the District of Maryland further charges that:

        On or about February 11,2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count Fifteen

of this Indictment.




18 U.S.C.   S 924(c)
18 U.S.C.   S2




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                                        COUNT SEVENTEEN
                            (Interference with Commerce by Robbery)

       The Grand Jury for the District of Maryland charges that:

        I.       At all times material to this Indictment, the Cricket Wireless store located at 8229

Liberty Road, Windsor Mill, Maryland 21244 ("Cricket Wireless") was engaged in the retail sale

of cell phones and other consumer products in interstate commerce and the business of Cricket

Wireless affected interstate commerce.

       2.        On or about February 11,2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTI~ELL GLOVER

did knowingly, obstruct, delay and affect, and attempt to obstruct, delay and alTect, commerce as

that term is defined in Title 18, United States Code, Section 1951, and the movement of articles

and commodities in commerce, by robbery. as that tenn is defined in Title 18. United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to Cricket Wireless from the person of and in the presence of an employee of Cricket Wireless.

against the employee's will by means of actual and threatened force, violence, and fear of injury,

immediate and future, to the employee's      person and property in the employee's      custody and

possessIOn.



18 U.S.c.    S 1951(a)
18 U.S.C.    S2




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                                    COUNT EIGHTEEN
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

       The Grand Jury for the District of Maryland further charges that:

       On or about February II, 2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count

Seventeen of this Indictment.




18 U.S.C.   S 924(c)
18 U.S.C.   S2




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                                        COUNT NINETEEN
                            (Interference with Commerce hy Robhery)

       The Grand Jury for the District of Maryland further charges that:

       1.        At all times material to this Indictment. the McDonald's restaurant located at 2107

East Joppa Road, Parkville, Maryland 21234 ('"McDonald's 2") was engaged in the sale of foods

and other consumer products in interstate commerce and the business of the McDonald's 2 affected

interstate commerce.

       2.        On or about February 26. 2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct, delay and affect. and attempt to obstruct, delay and affect, commerce as

that tenn is defined in Title 18. United States Code, Section 1951. and the movement of articles

and commodities in commerce. by robbery. as that term is defined in Title 18, United States Code.

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to McDonald's 2 from the person of and in the presence of an employee of McDonald's 2. against

the employee's    will by means of actual and threatened force. violence, and fear of injury,

immediate and future, to the employee's      person and property in the employee's     custody and

possessIOn.


18 U.S.C.   S 1951(a)
18 U.S.c.   S2




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                                     COUNT TWENTY
                        (Using, Carrying, and Brandishing a Firearm
                        During and in Relation to a Crime of Violence)

       The Grand Jury for the District of Maryland further charges that:

        On or about February 26, 2019, in the District of Maryland, the defendants,

                                     MARQUIS MOORE,
                                    MILEK RANKIN, and
                                    DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 1951, as alleged in Count

Nineteen of this Indictment.




18 U.S.C.   S 924(c)
18 U.S.C.   S2




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                                      COUNT TWENTY-ONE
                            (Interference with Commerce by Robbery)

       The Grand Jury for the District of Maryland further charges that:

       3.        At all times material to this Indictment, the McDonald's restaurant located at 6005

Liberty Road, Baltimore, Maryland 2 I207 ("McDonald's 3") was engaged in the sale of food and

other consumer products in interstate commerce and the business of McDonald's              3 affected

interstate commerce.

       4.        On or about March I. 2019, in the District of Maryland, the defendants,

                                       MARQUIS MOORE,
                                      MILEK RANKIN, and
                                      DONTRELL GLOVER

did knowingly, obstruct, delay and affect, and attempt to obstruct. delay and affect, commerce as

that term is defined in Title 18, United States Code, Section 1951. and the movement of articles

and commodities in commerce, by robbery, as that term is defined in Title 18, United States Code,

Section 1951, in that the defendants did unlawfully take and obtain money and property belonging

to McDonald's 3 from the person of and in the presence of an employee of McDonald's 3, against

the employee's    will by means of actual and threatened force, violence, and fear of injury,

immediate and future, to the employee's      person and property in the employee's     custody and

possessIOn.


18 U.S.c. ~ 1951(a)
18 U.S.c. ~ 2




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                                   COUNT TWENTY-TWO
                          (Using, Carrying, and Brandishing a Firearm
                          During and in Relation to a Crime of Violence)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 1,2019, in the District of Maryland, the defendants,

                                      MARQUIS MOORE,
                                     MILEK RANKIN, and
                                     DONTRELL GLOVER

did knowingly use, carry, and brandish a firearm during and in relation to a crime of violence for

which he may be prosecuted in a court of the United States, that is, Interference with Commerce

by Robbery in violation of Title 18, United States Code, Section 195 I, as alleged in Count Twenty-

One of this Indictment.




18 U.S.C.   S 924(c)
18 U.S.c.   S2




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                                          FORFEITURE

        The Grand Jury for the District of Maryland further charges that:

        1.     Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant that

the United States will seek forfeiture as part of any sentence in accordance with Title 18, United

States Code, Section 924( d), and Title 28, United States Code, Section 2461 (c), as a result of the

defendants' conviction under Counts Four, Six, Eight, Ten, Twelve, Fourteen, Sixteen, Eighteen,

Twenty, and Twenty-Two of the Indictment.

       2.      As a result of the dcfendants'    conviction under Counts Four, Six, Eight, Ten,

Twelve, Fourteen, Sixteen, Eighteen, Twenty, and Twenty-Two of the Indictmcnt. the defendants,

                                        MARQUIS MOORE,
                                       MILEK RANKIN, and
                                       DONTRELL GLOVER

shall forfeit to the United States any firearms involved or used in such offenses.




18 U.S.C. S 924( d)
28 U.S.c. S 2461(e)
Fed. R. Crim. P. 32.2(a)



                                                ~6~f- t ~uv I~W5
                                                  ROBERT K. HUR
                                                  UNITED STATES ATT RNEY
                                                                            b

A TRUE BILL:


  SIGNATURE REDACTED
FORE PERSON



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